Case

DAVIS WRIGHT TREMAINE LLP

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Attorneys for Plaintiffs
AME

P:17-Cv-02778-RHW-AS Document11 Filed 04/25/17 Page 1of11 Page ID#:73

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ACLU FOUNDATION OF

SOUTHERN CALIFORNIA

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te

PETER BIBRING (CA State Bar No.
223981)

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Los Angeles, CA 90017

Telephone: (213) 977-9500

Email: dporter@aclusocal.org

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CAN CIVIL LIBERTIES UNION OF SOUTHERN CALIFORNIA and

AMERICAN CIVIL LIBERTIES UNION OF NEVADA

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

AMERICAN CIVIL LIBERTIES UNION
OF SOUTHERN CALIFORNIA and
AMERICAN CIVIL LIBERTIES UNION
OF NEVADA,

Plaintiffs,
V.
U.S. DEPARTMENT OF HOMELAND
SECURITY and U.S. CUSTOMS AND
BORDER PROTECTION,

Defendants.

NOTICE OF FILING PROOFS OF SERVICE
OF SUMMONS AND COMPLAINT
4847-3389-1655v.1 0050033-000045

Case No. 2:17-cv-02778

NOTICE OF FILING PROOFS OF
SERVICE OF SUMMONS AND
COMPLAINT ON U.S. ATTORNEY
FOR CENTRAL DISTRICT OF
CALIFORNIA

 
Case

DAVIS WRIGHT TREMAINE LLP

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P:17-cv-02778-RHW-AS Document 11 Filed 04/25/17 Page 2of11 Page ID#:74

TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO ALL PARTIES
AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that, as reflected on the Proofs of Service attached

hereto as Exhibit 1, Plaintiff served the U.S. Attorney for the Central District of
California on behalf of the United States with the following documents:
1.
2.

Summons in a Civil Action

Complaint for Declaratory and Injunctive Relief for Violation of the Freedom
of Information Act, 5 U.S.C. § 552 et seq

Civil Case Cover Sheet

Notice of Party with Pecuniary Interest and Corporate Disclosure Statement
Notice of Assignment to United States Judges

Notice to Parties of Court-Directed ADR Program

Standing Order Regarding Newly Assigned Cases

Order for Civil Court Trial.

DATED this 25th day of April, 2017.

Respectfully submitted,

DAVIS WRIGHT TREMAINE LLP
THOMAS R. BURKE
BRENDAN N. CHARNEY

By: /s/ Thomas R. Burke
Thomas R. Burke

Attorneys for Plaintiffs

AMERICAN CIVIL LIBERTIES UNION OF
SOUTHERN CALIFORNIA and
AMERICAN CIVIL LIBERTIES UNION OF
NEVADA

 

NOTICE OF FILING PROOFS OF SERVICE
OF SUMMONS AND COMPLAINT
4847-3389-1655v.1 0050033-000045

 
Case 2:17-cv-02778-RHW-AS Document11 Filed 04/25/17 Page 3o0f11 Page ID#:75

Legal Tabs Co. 1-800-822-8022 Recycled CR) Stock #0X-5-B

EXHIBIT 1
Case 2:17-cv-02778-RHW-AS Document11 Filed 04/25/17 Page 4of11 Page ID#:76

BRENDAN CHARNEY, ESQ. SBN: 293378
DAVIS WRIGHT TREMAINE LLP

865 S. FIGUEROA STREET, SUITE 2400
LOS ANGELES, CA 90017

(213) 633-6800

 

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

 

WESTERN DIVISION
AMERICAN CIVIL LIBERTIES UNION OF one 17-CV-02778-BRO-(ASx)
SOUTHERN CALIFORNIA, ET AL.
v. PROOF OF SERVICE
U.S: DEPARTMENT OF HOMELAND SECURITY, We es eben nsale atti any

 

 

1. At the time of service | was at least 18 years of age and not a party to this action andl served copies of the (specify documents):

a. [X] summons (-] first amended complaint LI third party complaint
xX] complaint (1) second amended complaint counter claim
alias summons (J third amended complaint C cross claim

[X] other SEE ATTACHED DOCUMENT LIST
2. Person served:

a. [x] Defendant (name:) U.S, DEPARTMENT OF HOMELAND SECURITY
b. x] Other (specify name and title or relationship to the party/business named):
PAT a - CIVIL PROCESS CLERK, U.S. ATTORNEY'S OFFICE FOR THE CENTRAL DISTRICT OF
CALIF IA
c. [IX] Address where the papers were served: 200 N. LOS ANGELES STREET, RM. 7516
LOS ANGELES, CA 90012
3. Manner of Service in compliance with (the appropriate box must be checked):

a. [X] Federal Rules of Civil Procedure

b. C California Code of Civil Procedure
4. | served the person named in Item 2:

a. [X] By Personal Service. By personally delivering copies. If the person is a minor, by leaving copies with a parent, guardian,
conservator or similar fiduciary and to the minor if at least twelve (12) years of age.

1. X) Papers were served on (date): 04/13/2017 at (time): 04:35 pm
b. By Substituted Service. By leaving copies: PAT MYLES - CIVIL PROCESS CLERK

1.0 (home) at the dwelling house, usual place of abode, or usual place of business of the person served in the presence of a
competent member of the household, at least 18 years of age, who was informed of the general nature of the papers.

2.0 (business) or a person apparently in charge of the office, or place of business, at least 18 years of age, who was informed of
the general nature of the papers.

3.0 Papers were served on (date): at (time):

4.0 by mailing (by first-class mail, postage prepaid) copies to the person served in Item 2(b) at the place where the copies were
left in Item 2(c).

5.) papers were mailed on
6. FC) due diligence. | made at least three (3) attempts to personally serve the defendant.

c. LD Mail and acknowledgment of service. By mailing (by first-class mail or airmail, postage prepaid) copies to the person served,
with two (2) copies of the form of Waiver of Service of Summons and Complaint and a return envelope, postage prepaid
addressed to the sender. (Attach completed Waiver of Service of summons and Complaint).

 

(2 ICE - SUMMONS AND COMPLAINT PAGE 4
ev-t (03/10) PROOF OF SERVICE - SU CVV001/958706VU
Case 2:17-cv-02778-RHW-AS Document11 Filed 04/25/17 Page5of11 Page ID#:77

Nationwide Legal, LLC (12-234648)
1609 James M. Wood Bivd., 2nd Fl
Los Angeles, CA 90015
Phone: (213) 249-9999 Fax: (213) 249-9990

Continued from Proof of Service
CASE #: 2:17-CV-02778-BRO-(ASx) DATE: April 14, 2017

CASE NAME: AMERICAN CIVIL LIBERTIES UNION OF SOUTHERN CALIFORNIA, ET AL. VS.
U.S. DEPARTMENT OF HOMELAND SECURITY, ET AL.

SERVED: PAT MYLES - CIVIL PROCESS CLERK
SUMMONS

COMPLAINT

CIVIL COVER SHEET

NOTICE OF PARTY WITH PECUNIARY INTEREST AND CORPORATE DISCLOSURE STATEMENT
NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES

NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM

STANDING ORDER REGARDING NEWLY ASSIGNED CASES

ORDER FOR CIVIL COURT TRIAL

Order: 958706VU/DocAtt2010
Case 2:17-cv-02778-RHW-AS Document11 Filed 04/25/17 Page 6of11 Page ID#:78

d. [-] Service on domestic corporation, unincorporated association (including partnership), or public entity. (F.R.Civ.P. 4(h))
(C.C.P. 416.10) By delivering, during usual business hours, a copy of the summons and complaint to an officer, a managing or
general agent, or to any other agent authorized by appointment or by law to receive service of process and, if the agent is one
authorized by statute and the statute so requires, by also mailing, by first-class mail, postage prepaid, a copy to the defendant.

e. [_] Substituted service on domestic corporation, unincorporated association (including partnership), or public entity.
(C.C.P. 415.20 only) By leaving during usual business hours, a copy of the summons and complaint in the office of the person
served with the person who apparently was in charge and thereafter by mailing (by first-class mail, postage prepaid) copies of
the persons at the place where the copies were left in full compliance with C.C.P, 415.20 Substitute service upon the California
Secretary of State requires a court order, (Attach a copy of the order to this Proof of Service.)

ft. LJ Service ona foreign corporation. in any manner prescribed for individuals by FRCP 4(f

g. ("] Certified or registered mail service, By mailing to an address outside California (by first-class mail, postage prepaid,
requiring a return receipt) copies to the person served. (Attach signed return receipt or other evidence of actual receipt by
the person served).

h, C) other (specify code section and type of service):
5. Service upon the United States, and Its Agencies, Corporations or Officers.

a. by delivering a copy of the summons and complaint to the clerical employee designated by the U.S. Attorney authorized to
accept service, pursuant to the procedures for the Office of the U.S. Attorney for acceptance of service, or by sending a copy of
the summons and complaint by registered or certified mail addressed to the civil procecss clerk at the U.S. Attorneys Office.

Name of person served: PAT MYLES
Title of person served: CIVIL PROCESS CLERK
Date and time of service: (date); April 13, 2017 at (time): 04:35 pm

b. By sending a copy of the summons and complaint by registered or certified mail to the Attorney General of the United States at
Washington, D.C, (Attach signed return receipt or other evidence of actual receipt by the person served),

« LI By sending a copy of the summons and complaint by registered or certified mail to the officer, agency or corporation(Attach
signed return receipt or other evidence of actual receipt by the person served).

6, At the time of service | was at least 18 years of age and not a party to this action.

7. Person serving (name, address and telephone number): a. Fee for service: $ .00
yationsine JEFFREY ALAN LOPEZ

: b, L] Nota registered California process server
Nationwide Legal, LLC (12-234648)

1609 James M. Wood Blvd., 2nd FI C. C] Exempt from registration under B&P 22350(b)
Los Angeles, CA 90015 d. Registered California process server
(213) 249-9999 Registration # :2014-037194

County: LOS ANGELES

8, [] lama California sheriff, marshal, or constable and | certify that the foregoing is true and correct.

| declare under penalty of perjury that the foregoing is true and correct,

“~,
JEFFREY ALAN LOPEZ A i

Date: April 14, 2017 vo
Type or Print Server's Name # (Signature)

 

 

PROOF OF SERVICE - SUMMONS AND COMPLAINT

CV-4 (03/10) PAGE 2
958706VU
Case 2:17-cv-02778-RHW-AS Document11 Filed 04/25/17 Page 7of11 Page ID#:79

BRENDAN CHARNEY, ESQ. SBN: 293378
DAVIS WRIGHT TREMAINE LLP

865 S. FIGUEROA STREET, SUITE 2400
LOS ANGELES, CA 90017

(213) 633-6800

 

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

CASE NUMBER;

 

AMERICAN CIVIL LIBERTIES UNION OF 2:17-CV-02778 BRO (ASx)
SOUTHERN CALIFORNIA, ET AL.

v. PROOF OF SERVICE
— OF HOMELAND SECURITY, (Usa ber tS

 

 

1. At the time of service | was at least 18 years of age and not a party to this action andl served copies of the (specify documents):

a. [X] summons (] first amended complaint C1 third party complaint
complaint (_] second amended complaint C] counter claim
alias summons C third amended complaint CZ cross claim

[X] other SEE ATTACHED DOCUMENT LIST
2, Person served:

a. [x] Defendant (name:) U.S CUSTOMS AND BORDER PROTECTION
b. [XX] Other (specify name and title or relationship to the party/business named):
PAT MYLES - CIVIL PROCESS CLERK, U.S. ATTORNEY'S OFFICE FOR THE CENTRAL DISTRICT OF
CALIFORNIA
c. [X] Address where the papers were served: 200 N. LOS ANGELES STREET, RM. 7516
LOS ANGELES, CA 90012
3. Manner of Service in compliance with (the appropriate box must be checked):

a. IX] Federal Rules of Civil Procedure

b. CJ California Code of Civil Procedure
4. | served the person named in Item 2:

a. XX) By Personal Service. By personally delivering copies. If the person is a minor, by leaving copies with a parent, guardian,
conservator or similar fiduciary and to the minor if at least twelve (12) years of age.

1. XJ Papers were served on (date): 04/13/2017 at (time): 04:35 pm
b. By Substituted Service. By leaving copies: PAT MYLES - CIVIL PROCESS CLERK

1.0 (home) at the dwelling house, usual place of abode, or usual place of business of the person served in the presence of a
competent member of the household, at least 18 years of age, who was informed of the general nature of the papers.

2.0 (business) or a person apparently in charge of the office, or place of business, at least 18 years of age, who was informed of
the general nature of the papers.

3.0 Papers were served on (date): at (time):

40 by mailing (by first-class mail, postage prepaid) copies to the person served in Item 2(b) at the place where the copies were
left in Item 2(c).

5.0 papers were mailed on
6. CL) due diligence. | made at least three (3) attempts to personally serve the defendant.

c. CL) Mail and acknowledgment of service. By mailing (by first-class mail or airmail, postage prepaid) copies to the person served,
with two (2) copies of the form of Waiver of Service of Summons and Complaint and a return envelope, postage prepaid
addressed to the sender. (Attach completed Waiver of Service of summons and Complaint).

 

- ND COMPLAINT PAGE 1
CV-1 (03/10) PROOF OF SERVICE - SUMMONS A CVV001/958708VU
Case 2:17-cv-02778-RHW-AS Document11 Filed 04/25/17 Page 8o0f11 Page ID #:80

Nationwide Legal, LLC (12-234648)
1609 James M. Wood Blvd., 2nd Fl
Los Angeles, CA 90015
Phone: (213) 249-9999 Fax: (213) 249-9990

Continued from Proof of Service
CASE #: 2:17-CV-02778 BRO (ASx) DATE: April 14, 2017

CASE NAME: AMERICAN CIVIL LIBERTIES UNION OF SOUTHERN CALIFORNIA, ET AL. VS.
U.S. DEPARTMENT OF HOMELAND SECURITY, ET AL.

SERVED: PAT MYLES - CIVIL PROCESS CLERK
SUMMONS

COMPLAINT

CIVIL COVER SHEET

NOTICE OF PARTY WITH PECUNIARY INTEREST AND CORPORATE DISCLOSURE STATEMENT
NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES

NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM

STANDING ORDER REGARDING NEWLY ASSIGNED CASES

ORDER FOR CIVIL COURT TRIAL

Ordert: 958708VU/D0cAtt2010
Case 2:17-cv-02778-RHW-AS Document11 Filed 04/25/17 Page9of11 Page ID#:81

d, (-] Service on domestic corporation, unincorporated association (including partnership), or public entity. (F.R.Civ.P, 4(h))
(C.C,P. 416.10) By delivering, during usual business hours, a copy of the summons and complaint to an officer, a managing or
general agent, or to any other agent authorized by appointment or by law to receive service of process and, if the agent is one
authorized by statute and the statute so requires, by also mailing, by first-class mail, postage prepaid, a copy to the defendant.

e. (] Substituted service on domestic corporation, unincorporated association (including partnership), or public entity,
(C.C.P. 415.20 only) By leaving during usual business hours, a copy of the summons and complaint in the office of the person
served with the person who apparently was in charge and thereafter by mailing (by first-class mail, postage prepaid) copies of
the persons at the place where the copies were left in full compliance with C.C.P. 415.20 Substitute service upon the California
Secretary of State requires a court order. (Attach a copy of the order to this Proof of Service.)

f. C] Service on a foreign corporation, In any manner prescribed for individuals by FRCP 4(f)

g. (] Certified or registered mail service, By mailing to an address outside California (by first-class mail, postage prepaid,
requiring a return receipt) copies to the person served, (Attach signed return receipt or other evidence of actual receipt by
the person served).

h. C] other (specify code section and type of service):
5. Service upon the United States, and Its Agencies, Corporations or Officers.

a. by delivering a copy of the summons and complaint to the clerical employee designated by the U.S. Attorney authorized to
accept service, pursuant to the procedures for the Office of the U.S. Attorney for acceptance of service, or by sending a copy of
the summons and complaint by registered or certified mail addressed to the civil procecss clerk at the U.S. Attorneys Office,

Name of person served: PAT MYLES
Title of person served: CIVIL. PROCESS CLERK
Date and time of service: (date): April 13, 2017 at (time): 04:35 pm

b, (J By sending a copy of the summans and complaint by registered or certified mail to the Attorney General of the United States at
Washington, D.C. (Attach signed return receipt or other evidence of actual receipt by the person served).

c. LJ By sending a copy of the summons and complaint by registered or certified mail to the officer, agency or corporation(Attach
signed return receipt or other evidence of actual receipt by the person served).

5. At the time of service | was at least 18 years of age and not a party to this action.
7, Person serving (name, address and telephone number): a, Fee for service: $ .00

yanouwioe JEFFREY ALAN LOPEZ

; b. r] Not a registered California process server
Nationwide Legal, LLC (12-234648)

4609 James M. Wood Blvd., 2nd Ft c. [_] Exempt from registration under B&P 22350(b)
Los Angeles, CA 90015 d. Registered California process server
(213) 249-9999 Registration # :2014-037194.

County: LOS ANGELES

8. CJ lam a California sheriff, marshal, or constable and [ certify that the foregoing is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

aa %
( VED
Date: April 14, 2017 JEFFREY ALAN LOPEZ wal

Type or Print Server's Name Lo (Signature) ae

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PROOF OF SERVICE -» SUMMONS AND COMPLAINT

CV-4 (05/10) osevoevu
Case 4:17-cv-02778-RHW-AS Document11 Filed 04/25/17 Page 10o0f11 Page ID #:82

1 PROOF OF SERVICE

Z STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of California. I am over the age of 18
and not a party to the within action; my business address is 865 S. Figueroa Street, Suite 2400, Los
4|| Angeles, CA 90017.

3 On April 25, 2017, I served the document described as NOTICE OF FILING
6 PROOFS OF SERVICE OF SUMMONS AND COMPLAINT ON U.S.
ATTORNEY FOR CENTRAL DISTRICT OF CALIFORNIA upon the interested
7|| parties in this action in a sealed envelope addressed as follows:
8 PLEASE SEE ATTACHED PROOF OF SERVICE
4 _X_ (By Mail) Iam “readily familiar” with the firm’s practice of collection and processing
10 correspondence for mailing. Under that practice, it would be deposited with U.S. postal
service on that same day with postage thereon fully prepaid at Los Angeles, California in
11 the ordinary course of business. I am aware that on motion of the party served, service is
A presumed invalid if postal cancellation date or postage meter date is more than one day
4 12 after day of deposit for mailing contained in affidavit.
Zz MS _____ (By Overnight Delivery) I deposited this document in the box or other facility located at
$ 14 865 S. Figueroa Street, Suite 2400, Los Angeles, CA 90017 regularly maintained by
iy Federal Express, in an envelope designated by Federal Express with delivery fees paid or
ce 15 provided for, addressed to the persons on whom it is to be served, for guaranteed next day
co delivery.
16
o 17| __ (By Personal Service) I caused the delivery of such envelope by hand to the offices of the
x addressee.
yn |8 ;
m4 ____ (By E-Mail — PDF Format) I caused the foregoing document to be served by e-mail
me 19 transmission, in PDF Format, to each of the interested parties at the e-mail address shown
a 30 above.
1 Executed on April 25, 2017, Los Angeles, California.

22 Federal I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct and that I am employed in the office of a member of the bar
23 || of this Court at whose direction the service was made.

 

24

/s/ Lina Pearmain
25 Lina Pearmain
26
27
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NOTICE OF FILING PROOFS OF SERVICE
OF SUMMONS AND COMPLAINT
4847-3389-1655v.1 0050033-000045

 

 
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DAVIS WRIGHT TREMAINE LLP

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P:17-cv-02778-RHW-AS Document 11 Filed 04/25/17 Page 11of11 Page ID #:83

ATTACHED PROOF OF SERVICE

U.S. Attorney’s Office for the Office of the General Counsel
Central District of California U.S. Department of Homeland Security
312 N. Spring Street, Suite 1200 245 Murray Lane, SW
Los Angeles, CA 90012 Mail Stop 0485
Washington, DC 20528-0485
Office of the Chief Counsel Attorney General of the United States
U.S. Customs and Border Protection U.S. Department of Justice
1300 Pennsylvania Avenue, N.W. Service of Process
Washington, DC 20229 950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

Civil Process Clerk

United States Attorney’s Office
Central District of California
300 North Los Angeles Street
Suite 7516

Los Angeles, California 90012

NOTICE OF FILING PROOFS OF SERVICE
OF SUMMONS AND COMPLAINT
4847-3389-1655v.1 0050033-000045

 

 
